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                                                                                                                               E-FILED
                                                                                             Friday, 03 October, 2014 04:13:16 PM
AO 91 (Rev. 11/11) Crimina) Complaint                                                                Clerk, U.S. District Court, ILCD

                                     UNITED STATES DISTRICT COURT
                                                                      for the
                                                           Central District of Illinois

                  United States of America                               )
                                v.                                       )
                                                                         )       Case No.
                                                                         )                  14-MJ-7023
                                                                         )
                  GEORGE LUIS SALINAS                                    )
                                                                         )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                   October 3, 2014                    in the county of             Champaign         in the
        Central        District of              Illinois             , the defendant(s) violated:

             Code Section                                                          Offense Description
21 U.S.C. §§ 841(a)(1) and                       Possession of 50 grams or more of methamphetamine, a Schedule II
(b}(1)(B)(viii)                                  Controlled Substance, with the intent to distribute it.




          This criminal complaint is based on these facts:

SEE ATTACHED.




          g( Continued on the attached sheet.                                       s/Joseph Green



                                                                                            Joseph Green, Special Agent, DEA
                                                                                                    Printed name and title

Sworn to before me and signed in my presence.                                   s/David G. Bernthal

Date:             10/03/2014
                                                                                                      'Jiuige 's signature

City and state:                          Urbana, Illinois                          David G. Bernthal, United States Magistrate Judge
                                                                                                    Printed name and title
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                                     AFFIDAVIT

       I, JOSEPH J. GREEN, being first duly sworn on oath, depose and state as follows:

       1.     I am a Special Agent with the Drug Enforcement Administration (DEA)

currently assigned to the Drug Enforcement Administration (DEA) in the Springfield,

Illinois Resident Office (RO). I have been employed with the DEA since September

2009. Prior to my employment with the Drug Enforcement Administration, I was

employed as a Patrolman for the Springfield Police Department in Springfield, Illinois,

for approximately three and one half years. I have received specialized training in

various aspects of narcotics investigations, which include but are not limited to

interviewing defendants and witnesses, surveillance techniques and money laundering.

I have personally conducted or assisted in numerous investigations of state and federal

criminal violations involving the illegal trafficking of narcotics and related crimes. I

have helped prepare numerous criminal affidavits, executed search warrants, and

testified at criminal trials during my participation in drug investigations.

       2.     This affidavit is made in support of an arrest warrant and criminal

complaint charging George Luis SALINAS (D.O.B. 12/10/1955) with the possession of

fifty grams or more of methamphetamine with the intent to distribute it, in violation of

Title 21, United States Code, Sections 841(a)(1) & (b)(1)(B)(viii).

       3.     The statements contained in this affidavit are based in part on my own

investigation, information provided by other law enforcement officers, information

provided by other witnesses, and my experience and background as a law enforcement

officer. The information contained in this affidavit is not an exhaustive account of
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everything I know about this case. Rather, it is only the facts that I believe are necessary

to establish probable cause to believe SALINAS possessed fifty grams or more of

methamphetamine with the intent to distribute, it in violation of Title 21, United States

Code, Section 841(a)(l) & (b)(l)(B)(viii). If called as a witness to testify, I would testify as

follows.

        4.     On Friday morning, October 3, 2014, DEA agents, including myself,

conducted surveillance at the Walmart parking lot in Rantoul in the Central District of

Illinois. We had received credible information that SALINAS would be traveling from

Texas to Rantoul, Illinois, on a bus transporting illegal drugs. Agents saw an El

Tornado bus with Texas license plates stop in the Walmart parking lot. Agents saw

SALINAS get off the bus, get his luggage, and walk to a black Hyundai Santa Fe.

SALINAS put his luggage in the back of the Santa Fe and got into the front passenger

seat.

        5.     Agents took SALINAS into custody and transported him to the

Champaign Police Department. Agents read SALINAS his Miranda warnings.

SALINAS agreed to waive his rights and speak with the agents. SAILINAS pulled a

green plastic bag out of his pants that contained a substance that, based on my training

and experience, appeared to be crystal methamphetamine. The substance field tested

positive for the presence of methamphetamine and weighed 287.5 grams with

packaging. SALINAS told agents that he was transporting what he thought was

cocaine to Rantoul, Illinois, from Texas. SALINAS said he intended to deliver the
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controlled substance to an individual in the Central District of Illinois. SALINAS

expected to receive $4,000 in total for the controlled substance and said he would keep

$1,000 for himself and transport the rest of the money back to Texas. SALINAS stated

that he had previously transported marijuana from Texas to the Central District of

Illinois on approximately three other occasions.

      6.     Based on my training and experience, 287.5 grams of methamphetamine is

much greater than a personal use amount, and was intended for distribution.



      FURTHER AFFIANT SAYETH NOT.
                                                     s/Joseph Green


                                                   JOSEPJGEEN
                                                   Special Agent
                                                   Drug Enforcement Administration
                                                   Springfield, Illinois




      Subscribed and sworn to before me this 3rd day of October 2014.
                                                   s/David G. Bernthal


                                                   HONORABLE DAVID G. BERNTHAL
                                                   United States Magistrate Judge




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